Case 22-11068-JTD   Doc 4552-1   Filed 12/07/23   Page 1 of 2




               Exhibit A
Case 22-11068-JTD      Doc 4552-1       Filed 12/07/23     Page 2 of 2




          Settlements Consummated Pursuant to the
        Small Estate Claims Settlement Procedures Order
                         November 2023



               Settling Party                        Settled Value

         Eat. Learn. Play. Foundation                    $546,000.00

           Effective Ops, Limited                        $402,698.00

      Effective Ventures Foundation UK               $4,246,503.16

              Pro Publica, Inc.                      $1,640,000.00

       The Alignment Research Center                 $1,225,000.00

  The Ottawa Heart Institute Research, Corp.             $250,000.00

         The Working Policy Project                  £2,400,000.00

               David Streckert                           $104,734.00
